 Fill in this information to identify the case:

 Debtor 1              __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number            ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


 Name of creditor: _______________________________________                               Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                                  Date of payment change:
 identify the debtor’s account:                          ____ ____ ____ ____             Must be at least 21 days after date        05/21/2024
                                                                                         of this notice


                                                                                         New total payment:                            860.33
                                                                                                                                   $ __________
                                                                                         Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
       Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                   Current escrow payment: $ _______________                           New escrow payment:         $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
       No
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                   attached, explain why: _______________________________________________________________________________
                   __________________________________________________________________________________________________

                   Current interest rate:         _______________%                     New interest rate:          _______________%

                   Current principal and interest payment: $ _______________           New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
       No
       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                   (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________
                                                790.07
                   Current mortgage payment: $ _______________                                                     860.33
                                                                                       New mortgage payment: $ _________


Official Form 410S1                                          Notice of Mortgage Payment Change                                              page 1

         Case 5:23-bk-02286-MJC                       Doc Filed 04/29/24 Entered 04/29/24 10:25:14                                     Desc
                                                      Main Document   Page 1 of 7
Debtor 1         _______________________________________________________                        Case number (if known) _____________________________________
                 First Name      Middle Name               Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

      I am the creditor.
      I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.


                                                                                                           04/29/24
 8_____________________________________________________________
     Signature
                                                                                                Date    ____/_____/________




 Print:             _________________________________________________________                   Title   ___________________________
                    First Name                      Middle Name          Last Name



 Company            _________________________________________________________



 Address            _________________________________________________________
                    Number                 Street

                    ___________________________________________________
                    City                                                 State       ZIP Code



 Contact phone      (______) _____– _________                                                   Email ________________________




Official Form 410S1                                                    Notice of Mortgage Payment Change                                           page 2

          Case 5:23-bk-02286-MJC                             Doc Filed 04/29/24 Entered 04/29/24 10:25:14                                   Desc
                                                             Main Document   Page 2 of 7
                          UNITED STATES BANKRUPTCY COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
In re: Anthony J. Oliveri, Jr and Debra Lynn      Chapter 13
       Oliveri
                      Debtor(s)                   Bankruptcy No. 5:23-bk-02286-MJC
Citizens Bank, N.A., or its Successor or Assignee
                      Movant

              vs.

Anthony J. Oliveri, Jr and Debra Lynn Oliveri
Jack N Zaharopoulos
                       Respondent(s)


 CERTIFICATION OF SERVICE OF NOTICE OF MORTGAGE PAYMENT CHANGE

       I, Andrew M. Lubin, attorney for Citizens Bank, N.A., hereby certify that I served a true
and correct copy of the foregoing Notice of Mortgage Payment Change, by United States Mail,
first class, postage prepaid, and/or electronic means, upon the following:
Date Served: 04/29/24
Anthony J. Oliveri, Jr           Michael A. Cibik                  Jack N Zaharopoulos
105 Carverton Rd                 Cibik Law, P.C.                   Standing Chapter 13 Trustee
Trucksville, PA 18708-1746       1500 Walnut Street                8125 Adams Drive, Suite A
                                 Suite 900                         Hummelstown, PA 17036
Debra Lynn Oliveri               Philadelphia, PA 19102
105 Carverton Rd
Trucksville, PA 18708-1746       United States Trustee
                                 US Courthouse
                                 1501 N. 6th St
                                 Harrisburg, PA 17102


                                      /s/ Andrew M. Lubin, Esquire
                                      MARISA MYERS COHEN, ESQUIRE ID #87830
                                      ANDREW M. LUBIN, ESQUIRE ID # 54297
                                      Attorney for Citizens Bank, N.A.
                                      1420 Walnut Street, Suite 1501
                                      Philadelphia, PA 19102
                                      Telephone: (215) 790-1010
                                      Facsimile: (215) 790-1274
                                      Email: ecfmail@mwc-law.com




 Case 5:23-bk-02286-MJC         Doc Filed 04/29/24 Entered 04/29/24 10:25:14               Desc
                                Main Document   Page 3 of 7
Case 5:23-bk-02286-MJC   Doc Filed 04/29/24 Entered 04/29/24 10:25:14   Desc
                         Main Document   Page 4 of 7
Case 5:23-bk-02286-MJC   Doc Filed 04/29/24 Entered 04/29/24 10:25:14   Desc
                         Main Document   Page 5 of 7
Case 5:23-bk-02286-MJC   Doc Filed 04/29/24 Entered 04/29/24 10:25:14   Desc
                         Main Document   Page 6 of 7
Case 5:23-bk-02286-MJC   Doc Filed 04/29/24 Entered 04/29/24 10:25:14   Desc
                         Main Document   Page 7 of 7
